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AO 91(Rev.08/09) CriminalComplaint

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               United StatesofAmerica                                                                       FJIEtLN :.1.LAPlM 0RE
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           NICKLAUS LARONE W OODARD                                   Case No. 12-8167-JMH




                                                   CRIM INAL COM PLA INT

        1,thecomplainantin thiscase,state thatthe following istrue to thebestofmy knowledge and belief.
Onoraboutthedatets)of                    April20,2012         inthecounty of                       Calm Beach                  inthe
   southqm--- Districtof                 Florida      ,thedefendantts)violated:
           CodeSection                                                    OffenseDescription
21U.S.C.Section,841(a)(1)                    Possessi
                                                    onwithintenttodistributemari
                                                                               juana
18U.S.C.Section,922(9)                       Possession ofafirearm by an unlawfuluserofcontrolled substances




        Thiscrim inalcomplaintisbased on thesefacts:


                                 SEE ATTACHED AFFIDAVIT


        W Continuedontheattachedsheet.
                                                                                           ,..'-


                                                                                   f, ? / z.
                                                                                   '

                                                                                          Complainant'
                                                                                                     ssignature

                                                                      -   - -     SARA-T.CONN--
                                                                                              QRK SPECIAkAQENT
                                                                                           Printed nameandtitle

Sworn to beforem eand signed in my presence.

                                                                                                     Z
Date:               tr /Q                                                          yar.         Jrj-7)7na ex cvrvw-r
                                                                                              Judge.
Cityandstate:                Wp>!P@lm M@-@.th,Flgr.
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        Your aftiant,Sara T.Connors,firstbeing duly sworn,does hereby depose and state as

 follow s:


  1. Youraftsanthas been a SpecialAgentwith the Bureau of Alcohol,Tobacco,Firearms and

    Explosivesforthirteen years. Youraffiant'sresponsibilitiesinclude investigating violations

    offederallaw,including violationsofthe Gun ControlAct(Title 18 United StatesCode,
    Chapter 44). This affidavitis based upon your affiant's personalknowledge,review of
    reports,and information obtained from otherlaw enforcem entofficialsand civilians.

     Youraffiantiscurrently working on thisinvestigationwith ATF Task ForceOfficer(TFO)
    Troy Raines.TFO Raineshasbeen involved in the writing and execution ofoverfifty search

    and seizurewarrantsfornarcotics,and otheritem srelated to violentcrimes. TFO Raineshas

    received num erous hours oftraining in Hom icide Investigations,N arcotics Investigations,

     Street Gang investigations, lnvestigative lnterview ing Procedures. TFO Raines has been

     deem ed in federalcircuitcourtasan expertin thetestimony regarding narcoticsviolations.

  3. On April5,2012,W estPalm Beach Police Departm entPatrolmade contactwith Nicklaus
     W OODARD whO wasstanding in frontof633 54thStreetin W estPalm Beach. W O O DA RD

    was in possession of an alcoholic beverage. W hile speaking w ith officers,W OODARD

    m ade the spontaneous utterance,1%Ihave a pistolin m y back pocketbut1have papers for it''.

     W estPalm Beach Officers then removed the fireann forsafety reasons. W OODARD does

    notpossess a concealed weaponsperm it. The firearm ,a Glock m odel27,.40 calibersemi-

    automatic pistol, SN 4W PPD33G, was loaded with thirteen rounds of .40 caliber

    am m unition.

 4. Based on the A pril 5th encounter w ith W O O DA RD , W est Palm Beach Police O fficers

     obtained an arrestw arrant for W OO D ARD for carrying a concealed firearm . O n A pril20,
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     2012, W est Palm Beach Police Officers and US M arshals arrested W OODARD at his

    residence. Upon entering the residence, officers observed two clear plastic baggies

     containingwhatappearedtobemarijuanaonthecoffeetable.Theresidencewascleared and
     held whilea search warrantwasobtained.

  5. ATF Task Force Oftscer Troy Raines then conducted a post-M iranda interview with

    W OODARD . This interview was audio and video taped. W OODARD stated that he

    recently obtained a fireann the previous nightfor$50 in Riviera Beach,since his firearms
    had been taken by the Police Departm ent. W OODARD stated thatthe firearm ,a revolver,

    w as in the trunk of his vehicle at his residence. W O O DA RD stated that he needed the

     firearm forprotection,ashe had recently been involved in a shooting. W OODARD stated

    thathe has been smoking marijuana since he was eighteen (18)years old,and thathe is
    twenty-five (25)yearsold now. W OODARD told TFO Rainesthathe smokesmari
                                                                          juana
     every day. TFO Rainesasked W OODARD how much marijuana he smokes a week,to
     which W OO D AR D replied,%$a lof'.
     W estPalm Beach Police Officersobtained a search warrantfor633 54thstreetin W estPalm

     Beach, to include W OODARD 'S vehicle, for what was seen in plain view during

     W OODARD'S arrestand whathe said in his subsequentstatement.            Upon searching the

     residence,Oftscers recovered approximately 116 grams ofmarijuana,packaging material
     consisting ofoneinchbyoneinchplasticapplebags,threeblackdigitalscales,six (6)rounds
     of.38 caliberammunition,four(4)roundsof.40 caliberammunition and oneround of.22
     caliber am m unition. ln addition,tw enty-two spent .40 caliber shellcasings w ere recovered

     from the residence.

     Your affiantconsulted with TFO Raines,who determined that the amountof mari
                                                                               juana
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    recovered along with the packaging materialsand thescalesis indicative forthe distribution

    ofmarijuana. Officersconductedafield teston themarijuanarecovered from theresidence
    w hich resulted in a positive reaction forTHC .

 8. Offcerssearched W OODARD'Svehicle,a 4 doorChevrolet,FL license plate num berN34

    5CU and recovered a Taurus .38 caliberrevolver,SN AU71642 loaded with five roundsof

    W inchester.38 SPL amm unition from a spare tire located in the trunk. An NCIC check of

    this fireann revealsitwasone oftwelve firearm sstolen from a federalfirearms licensee in

    2007. ln addition,officersrecovered seventeen spentshellcasings(10 9mm roundsand 7
    .
     40caliberrounds)from ajacketpocketthatwasin W OODARD'Stnmk.
 9. Your affiantconsulted w ith ATF SA A lan Oxley w ho have received extensive training in the

    m anufaeture and commereeofEreal'm ,and hasbeen adm itted asan expertwitnessin the area

    ofthe interstate com m erce nexusoffirearm s and am m unition on num erousprior occasions in

    the United States District Court for the Southem District of Florida,and elsewhere. SA

    Oxley has advised youraffiantthatthe Taurusrevolver and W inchester am munition are all

    m anufactured outside the State of Florida,and thatthus,by theirsubsequentpresence and

    recover in Florida,sueh,ofnecessity,had to have traveled in and affected interstate and/or

    foreign com m erce.
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  10.Based upon thepreviousfacts,thisaffiantbelievesthatthere isprobable causeto believethat

     NicklausW OODARD,anunlawfuluserofmarijuana,possessedafirearm inviolationTitle
     18USC,section922(g),andmarijuanaforDistributioninviolationofTitle21USC,section
     841(a)(1).
                                                            xdzo /
                                                                 'V             .= r
                                                        SaraT.Connors,SpecialAgent
                                                        BUREAU OF A LCOHOL,
                                                        TOBA CCO ,FIREA RM S AN D
                                                        EXPLO SIV ES



 Sworn to and subscribed beforeme this
   R T DayofApril,2012



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 AM ES M .HOPKINS
 UN ITED STATES M AG ISTRATE JUDG E
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                          UNITED STATES DISTRICT CO URT
                          SOUTHERN DISTRICT O F FLORIDA

                                    No. 12-8167-JM H

 UNITED STATES O F AM ERICA

 VS .

 NICKLAUS LARO NE W O ODARD,

                       Defendant.
                                    /

                               CRIM INAL COVER SHEET


        Did this m atteroriginate from a m atterpending inthe Nodhern Region ofthe United
        States Attorney's Office priorto October14,2003*             Yes X No

        Did this m atteroriginate from a m atterpending in the CentralRegion ofthe United
        States Attorney's Office priorto Septem ber1,2007?          -   Yes X No



                                         Respectfully subm itted,

                                         W IFREDO A .FERRER
                                         UN ED STATES AT RNEY

                                  BY:
                                         ROBER H.W ATE !JR.
                                         ASSISTANT UNITE STATES ATTO RNEY
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